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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                          4:11CR00211-12

SAM WHITE

                                             ORDER

        Defendant Sam White was sentenced for the offense of conspiracy to possess with intent

to distribute a controlled substance on December 18, 2012. Defendant now seeks copies of the

transcripts of his change of plea hearing and sentencing hearing. (Docket # 334). Defendant

states that he needs the transcripts to prepare a Writ of Habeas Corpus pursuant to 28 U.S.C. §

2255.

        The motion is denied as premature. The Court declines to provide free copies of

transcripts prior to the filing of a complaint under § 2255. See Chapman v. United States, 55

F.3d 390 (8th Cir. 1995), citing, United States v. Losing, 601 F.2d 351, 353 (8th Cir.1979)

(holding motion for preexisting records and transcripts is premature prior to filing of habeas

corpus complaint).

        IT IS SO ORDERED this 19th day of July, 2013.



                                                     ___________________________________
                                                     James M. Moody
                                                     United States District Judge
